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            In the United States Court of Federal Claims
                                   No. 09-739 C
                                (Filed May 7, 2010)

 BAHRAIN MARITIME &                       )
 MERCANTILE INTERNATIONAL                 )
 B.S.C.                                   )
 Dba BMMI,                                )
                  Plaintiff,              )
           v.                             )
                                          )
 THE UNITED STATES,                       )
                           Defendant.     )

                                      ORDER

       This order addresses Defendant’s Motion for a More Definite Statement and
plaintiff’s opposition thereto.

       Plaintiff, Bahrain Maritime and Mercantile International, B.S.C. (“BMMI”),
a Bahraini stockholding company, is incorporated in the Kingdom of Bahrain. BMMI
is a party to a contract with the United States, represented by the Defense Logistics
Agency (“DLA”) and its Defense Supply Center Philadelphia (“DSCP”) for full-line
food supplies distribution to United States Military customers throughout Bahrain,
Qatar, and Saudi Arabia. BMMI initiated this suit as a direct action pursuant to 41
U.S.C. § 609(a)(1) (section 10(a)(1) of the Contract Disputes Act (“CDA”) of 1978,
Pub. L. No. 95-563, 95th Cong., 92 Stat. 2383, 2388) and 28 U.S.C. § 1491(a)(2).
This direct action contests the calculation of a $273,559.75 claim asserted against
plaintiff by the DLA contracting officer.

       BMMI’s Complaint, as filed in this direct action, does not address whether the
Kingdom of Bahrain permits suits by United States citizens against it on the same
terms as its native citizens. This omission is the basis for Defendant’s Motion for a
More Definite Statement based upon the text of 28 U.S.C. § 2502(a) which reads
“[c]itizens or subjects of any foreign government which accords to citizens of the
United States the right to prosecute claims against their government in its courts may
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sue the United States in the United States Court of Federal Claims if the subject
matter of the suit is otherwise within such court’s jurisdiction.”

       Plaintiff objects to any requirement that it address the issue of reciprocity
asserting that provisions of the CDA render 28 U.S.C. § 2502(a) inapplicable.

      A statutory reciprocity limitation on the waiver of sovereign immunity to
permit suits by foreign citizens against the United States in the Court of Federal
Claims and its predecessor courts has been in existence since 1868. Ferreiro v.
United States, 350 F.3d 1318, 1320 (Fed. Cir. 2003).

      As noted in Burnside-Ott Aviation Training Center v. Dalton, 107 F.3d 854,
858 (Fed. Cir. 1997), “[t]he CDA was a comprehensive overhaul of the process for
reviewing claims related to government contracts. It provided for substantive
changes in the law concerning the handling and review of contract disputes.” In the
CDA Congress mandated “. . . [t]he dual avenues of review either by appeal to a
Board of Contract Appeals or by a direct access suit in the Court of Claims.”
Seaboard Lumber Co. v. United States, 903 F.2d 1560, 1565 (Fed. Cir. 1990). The
CDA does not, however, expressly address the application of 28 U.S.C. § 2502(a) to
a CDA direct access suit.1/

       In this circumstance, it appears that the issue of possible reciprocity restriction
with respect to CDA claims involves only direct action suits filed, pursuant to section
10(a)(1), (41 U.S.C. 609(a)(1)) in the Court of Federal Claims, under jurisdiction
provided by 28 U.S.C. § 1491(a)(2), by a foreign contractor with the United States,
whose country does not permit suits against it by United States citizens on the same


       1/
         Prior to the enactment of the Federal Courts Improvement Act of 1982 (“FCIA”), Pub. L.
No. 97-164, 96 Stat. 25, which established the United States Claims Court, the CDA provided that
both direct access suits and appeals from decisions of boards of contract appeals were to be filed in
the United States Court of Claims. CDA sections 8(g)(1) and 10(a)(1), 92 Stat. at 2387-88. The
FCIA redirected appeals from boards of contract appeals decisions pursuant to section 8(g)(1) of the
CDA, to the newly-created United States Court of Appeals for the Federal Circuit. 28 U.S.C. §
1295(a)(10). The Reciprocity Statute, 28 U.S.C. § 2502(a), only addresses suits filed in the United
States Court of Federal Claims and its predecessor courts – The United States Court of Claims and
the United States Claims Court. Thus, after 1982, CDA claims appealed to a board of contract
appeals by a foreign contractor with the United States and, thereafter, to the Federal Circuit, do not
face any possible reciprocity statute restriction.

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terms as its native citizens. Ferreiro v. United States, 350 F. 3d at 1322. The
question then is whether that is this case. Does the Kingdom of Bahrain not permit
suits against it by United States citizens on the same terms as its native citizens? If
the Kingdom of Bahrain does permit suits by United States citizens on equal terms
with its native citizens, there is no viable reciprocity issue. If the Kingdom of
Bahrain does not permit suits by United States citizens on equal terms with those
applicable to its native citizens, then the issue is raised and it must be determined
whether 28 U.S.C. § 2502(a) requires dismissal of this suit.

      Accordingly, it is ORDERED that Defendant’s Motion for a More Definite
Statement is GRANTED only to the extent that:

       (1) Plaintiff shall on or before May 27, 2010, file a brief statement as to its
position concerning whether the Kingdom of Bahrain satisfies the reciprocity
requirement set forth in 28 U.S.C. § 2502(a) as interpreted in Ferreiro at 1322; and

      (2) Within 21 days after service of plaintiff’s statement, defendant shall file an
appropriate response.




                                                s/ James F. Merow
                                                James F. Merow
                                                Senior Judge




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